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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

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In re:
Bracha Cab Corp. et. al., Chapter ll
Debtors. Case No. 17-46613-nhl
Jointly Administered
x

DEBTORS REPLY TO OPPOSITION TO ENTRY OF AN ORDER
FOR AUTHORIZING USE OF CASH COLLATERAL

Bracha Cab Corp. et. al. (“Debtors”), as debtors and debtors in possession in the above-
captioned chapter ll case, as its response to the opposition of Capital One Equipment Finance
Corp.(“Capital”) to the Debtors’s motion for authorization to use Capital’s cash collateral,
respectfully represents:

l. On December 8, 2017, Bracha Cab Corp., Dovber Cab Corp., Dabri Trans Corp.,
Merab Cab Corp., Fit Taxi Corp., Tamar Cab Corp., and NY Genesis Taxi Corp. filed voluntary
petitions for relief under chapter ll of the Bankruptcy Code. On December ll, 2017, Jarub Trans
Corp., Somyash Taxi Corp., NY Canteen Taxi Corp., Lechaim Cab Corp., Tarnar Cab Corp., NY
Genesis Taxi Corp., NY Tint Taxi Corp., NY Stance Taxi Corp., NY Energy Taxi Corp., Jackhel
Cab Corp. filed voluntary petitions for relief under chapter ll of the Bankruptcy Code.

2. On January 19, 2018, this Court entered an order procedurally consolidating the
cases filed by the Debtors and directing that they be jointly administered by the Court.

3. Since the Filing Date, the Debtors have deposited all the Net Income that they
received into the Debtor in Possession bank account. The Debtors filed monthly operating reports
for each month since they filed the petitions and Will continue to file reports each month.

4. Capital opposes the Debtors’ use of its cash collateral, alleging that the Debtors do

not operate real businesses, but instead have only passive income, thereby making business

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expenditures unnecessary Capital is wrong. For years Capital loaned money to the Debtors and
extended the Debtors’ notes. Capital would not have done that if it believed that the Debtors did
not operate real businesses that generate money. Capital’s refusal to extend the notes after the
death of Jacob Elberg is one of the events that caused the Debtors to end up in this Court.

4. The Debtors operate real businesses at the property owned by Esma Elberg.
Although Mrs. Elberg does live in the property, one floor of the property is dedicated for the
offices of the Debtors. That space has computers and other furniture and equipment used by the
Debtors in their operations. Since their inception, the Debtors have always maintained offices for
the operation of their businesses Not only is it necessary for the Debtors to continue to maintain
offices, the presence of the office in Mrs. Elberg’s home has increased expenses for utilities
making it appropriate for the Debtors to bear some of those costs. Mrs. Elberg is present in the
offices every day and performs management duties for the Debtors. The Debtors request that they
be authorized to pay her a salary in an amount that the Court deems appropriate

5. Brenda K. Whitacre (“Whitacre”) acts as bookkeeper for the Debtors. Whitacre
has worked for the Debtors and related companies since 2012. Annexed hereto as Exhibit A is
her resume, which shows that she has extensive skills in bookkeeping and office management
Her services are essential to the Debtors and since the filing, they have included preparation of
the schedules, preparation of the operating reports, managing the bank accounts, setting up and
maintaining QuickBooks online, and working with the Debtors’ accountant Without Whitacre,
the Debtors would need more accounting services which would come at a higher expense.
Currently, she is being paid by Esma Management because the Debtors are not using any of the
money generated by the 35 medallions that they own. Alrnost all of the work that she does is on
behalf of the Debtors, with a very small part of her time assisting Mrs. Elberg on personal

matters. The Debtors will not pay for those services. Because Whitacre is performing valuable

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and necessary services for the Debtors, the Debtor submits that it is more transparent and correct
to pay Whitacre directly by the Debtors, She will not be compensated for any work done for any
other person or entity. Alternatively, the Debtor could pay Esma Management a management fee
in a reasonable amount, with the money earmarked for Whitacre. The use of the money would be
documented on operating reports. Contraiy to the statements of Capital One, the Debtors operate
real businesses that generate $500,000 a year and need Whitacre, The amount proposed to pay
Whitacre is modest and necessary and this Court should authorize payment of that expense from
the cash collateral.

6. The Debtor proposes to pay all of its excess income to Capital. With the proposed up
front payment and the proposed monthly payments, Capital would receive 5.1% interest during
2018 on its secured claim of $'7 million. If this Court reduces or does not permit the Debtors to
pay a salary to Mrs. Elberg, that percentage will increase. The Debtors submit that such payments
will provide Capital with adequate protection of its secured claim and will insure that Capital’s
position will not deteriorate during 2018. Capital alleges that the value of its collateral is
declining, but gives no evidence to support that belief. The Debtors believe that the opposite is
true. Within the last week Crain’s New York and the New York Post reported that there is a bill
pending in the New York City Council that will require Uber and Lyft meet environmental
standards aimed at reducing congestion, pay significant fees to the City per car, limit the amount
of cars per base, and other regulations that would bring Uber and Lyf`t cars in line with
regulations on medallion cabs. A copy of the articles is annexed as Exhibit B. The effect of this
legislation would be to make medallion cabs more competitive thereby increasing both the
income that the Debtors would receive and the value of the Debtors’ medallions. The Debtors
and Capital would benefit by the proposed legislation. The taxi industry is strongly pushing for

this legislation and believes that momentum is building in favor of it both in the City and in

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Albany.

Wherefore, it is respectiiilly requested that this Court overrule Capital’s
opposition to the Debtors ‘s motion for authorization to use Capital’s cash collateral, grant the
Debtors’s motion and grant such other relief as is just and proper.

Dated: Brooklyn, New York

March 8, 2018
ROSENBERG, MUSSO & WEINER, LLP

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By: /s/

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